. Case 1:23-cv-00728-JLS Document6 Filed 10/04/23 Pagei1of5
U.S. Department of Justice PROCESS RECEIPT AND RETURN

United States Marshals Service See "Instructions for Service of Process by U.S. Marshal"
PLAINTIFF COURT CASE NUMBER »-

Wiliam Nelaw 23-¢c 28

DEFENDANT TYPADF SBOCESS
Amencat Pobre and Troopers Coalitidn OAc. PH 2:45

NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESC RIPTIONDEP PROPERTN

> SEIZAROR FEN
SERVE J PosiDereer American Police ana Troopats C86 LCA KORG

AT ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

\ZBAS )cSQu Lo, Farmers Branch , 1% TS234

SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW Number of process to be

served with this Form 285 {

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Number of parties to be /

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Check for service
| on ULS.A. ©

SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, and Estimated Times Available for Service):

Fold

Fold

Signature of Attorney other Originator requesting service on behalf of. BR PLAINTIFF TELEPHONE NU DATE

WYO Coerenpant | UG 5243842 | G\il22
SPACE BELOW FOR USE OF U.S. MARSHAL ONLY-- DO NOT WRITE BELOW THIS LINE +F |

I acknowledge receipt for the total | Total Process | District of District to Signature of Authorized USMS Deputy or Clerk Date /

number of process indicated. Origin Serve

(Sign only for USM 285 if more | 5 FS &) 5 HMA, HOS wie, (0d | 0) 013
than one USM 285 is submitted) No. & No. | J

I hereby certify and return that I CJ have personally served , LJ have legal evidence of service, (_] have executed as shown in "Remarks", the process described
on the individual . company. corporation, etc., at the address shown above on the on the individual , company, corporation, etc. shown at the address inserted below.

Dt I hereby certify and return that I am unable to locate the individual, company, corporation, ete. named above (See remarks below)

Name and title of individual served (if not shown above) CI aA person of suitable age and discretion

then residing in defendant's usual place
of abode

Address (complete only different than shown above) Time

Dat
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Service Fee Total Mileage Charges} Forwarding Fee Total Charges Advance Deposits Amount owed to U.S. Marshai* or
including endeavors) (Amount of Refund*)

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NOTIC E OF SERVIC E

: BILLING STATEMENT®: To be (QunRUK OBE COURT

if any amount is owed. Please remit promptly payable to U.S. Marshal. Form USM-285
5, ACKNOWLEDGMENT OF RECEIPT Rev. 11/13

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U.S. Department of Justice
United States Marshals Service

NOTICE AND ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND, cB eR “
United States District Court vad

for the i
Western District of New York “

Civil Action, File Number 1:23-CV-00728

To: |American Police and Troopers Coalition PAC
12895 Josey Lane
Farmers Branch, TX 75234 William Nolan

Vv.

American Police and Troopers Coalition PAC

The enclosed summons and complaint are served pursuant to Rule 4(e)(1) of the Federal Rules of Civil Procedure, and
New York State law.

You MUST COMPLETE the acknowledgment part of this form below, AND RETURN COPIES | AND 2 to the sender
within 21 days. An envelope has been enclosed for this purpose. Keep copy 3 for your records.

YOU MUST SIGN AND DATE THE ACKNOWLEDGMENT ON ALL COPIES. If you are served on behalf of a
corporation, unincorporated association (including a partnership), or other entity, you must indicate under your signature your
relationship to that entity. If you are served on behalf of another person and you are authorized to receive process, you must
indicate under your signature your authority.

If you do not complete and return copies | and 2 of this form to the sender within 21 days, you (or the party on whose
behalf you are being served) may be required to pay any expenses incurred in serving a summons and complaint in any other
manner permitted by law.

If you do complete and return copies 1 and 2 of this form, you (or the party on whose behalf you are being served) must
answer the complaint within 21 days for private defendants and/or 60 days for Federal defendants. If you fail to do so,
judgment by default will be taken against you for the relief demanded in the complaint.

I declare, under penalty of perjury, that this Notice and Acknowledgment of Receipt of Summons and Complaint By Mail

was mailed on this date. BEATA Digitally signed by BEATA
HOSKING

September 06, 2023 HOSKING Date: 2023.09.06 07:59:02 -04'00'

Date of Signature Signature (USMS Official)

ACKNOWLEDGMENT OF RECEIPT OF SUMMONS AND COMPLAINT

I declare, under penalty of perjury, that I received a copy of the summons and of the complaint in the above captioned
manner at:

12895 Josey Lane

Street Number and Street Name or P.O. Box No. Relationship to Entity/Authority to Receive
Farmers Branch, TX 75234 Certified Mail/FedEx Express

City, State and Zip Code Service of Process

Signature Date of Signature

Copy | - Clerk of Court
Copy 2 - United States Marshals Service

JSM Form-299
Copy 3 - Addressee un | oS
Copy 4 - USMS District Suspense Automated 10/03
4+ Case 1:23-cv-00728-JLS Document6 Filed 10/04/23. Page 3of5

AO 440 (Rev. 06/ 12) Summons in a Civil Action

UNITED STATES DISTRICT COURT = RECE: VED

for the
Western District of New York

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ESTERN NEW Yon’

William Nolan

Plaintift(s)

Civil Action No.

22-cCN- 128

Vv.

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SUMMONS IN A CIVIL ACTION

To: (Defendant’y name and address) OAC
Amoican Roiice and Troogers Coalymen

\2896 Josey Ly. Farmers Branch TK 75234

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,

whose name and address are: Wi \\Wraawm N oes
3654 Comber \ank Lane.
it ambura NY \YoTK

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

_ SEP 1 2023 Wim 0 lnestoape

Signature of Clerk or Deputy’ Clerk
Case 1:23-cv-00728-JLS Document 6

ORIGIN ID:PNXA (800) 463-3339
PKG RETURNS

4901 AIRPORT PARKWAY

ADDISON, TX 75001
UNITED STATES US

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SHIP DATE: 030CT23

ACTWGT.
CAD:

BILL

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RECIPIENT

TO CIVIL DIVISION

UNITED STATES MARSHALS SERVICE

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4TH FLOOR

BUFFALO NY 14202

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